




NO. 07-07-0098-CV



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL B



JUNE 20, 2008

______________________________



IN THE INTEREST OF K.B.R., A CHILD

_________________________________



FROM THE 137TH DISTRICT COURT OF LUBBOCK COUNTY;



NO. 99-508,085; HONORABLE CECIL PURYEAR, JUDGE

_______________________________





Before QUINN, C.J., and CAMPBELL and HANCOCK, JJ.

MEMORANDUM OPINION

This is a restricted appeal from a post-answer default judgment in a suit modifying the parent-child relationship between appellant Phillip Scott Robinson and K.B.R., a minor child of Robinson and appellee Daina Niell. &nbsp;We reverse and remand.

Factual and Procedural Background

In November 1999, Niell filed a petition in suit affecting the parent-child relationship against appellant. &nbsp;In May 2000, the parties entered into an agreed order concerning, among other things, child support and provision of health insurance. &nbsp;In March 2002, Niell filed another suit against Robinson, moving to reduce unpaid child support to judgment, seeking enforcement of appellant’s obligations, and requesting attorney’s fees. &nbsp;Robinson filed a general denial. &nbsp;Niell then filed a supplemental petition, adding a request that Robinson’s child support obligations be increased.

Shortly thereafter, Robinson filed a motion for modification of child support and Niell filed an amended petition. &nbsp;Mediation was conducted in October 2006. &nbsp;The record also contains an October 2006 order setting a “final hearing on all pending motions” for November 20, 2006, after which hearing the court signed the judgment from which Robinson appeals. &nbsp;
Among other things, the judgment increased Robinson’s child support obligations, confirmed certain child support arrears, and awarded attorney’s fees to Niell. &nbsp;The judgment recites that Robinson was served with notice of the hearing but failed to appear.
(footnote: 1) 

Analysis

Robinson’s brief raises six points of error challenging the trial court’s judgment.
(footnote: 2) &nbsp;By the first, he contends the trial court erred by failing to ensure a record was made of the hearing pursuant to Section 105.003 of the Texas Family Code.
(footnote: 3) &nbsp;We agree, and find this issue dispositive of the appeal.
(footnote: 4)
	A restricted appeal is a procedural device available to a party who did not participate, either in person or through counsel, in a hearing that resulted in a judgment against the party. &nbsp;Tex. R. App. P. 30. &nbsp;To be eligible for a restricted appeal, the party must not have timely filed a postjudgment motion, a request for findings of fact and conclusions of law, or a notice of appeal. &nbsp;
Id.
 &nbsp;In addition, the error complained of must be apparent on the face of the record. &nbsp;
Norman Commc’ns v. Tex. Eastman Co.,
 955 S.W.2d 269, 270 (Tex. 1997) (defining face of the record as all papers on file in the appeal, including the statement of facts). &nbsp;Under these circumstances, a party may file a restricted appeal by filing a notice of appeal within six months of the date the judgment is signed. &nbsp;Tex. R. App. P. 26.1. &nbsp;The record demonstrates Robinson satisfies the first three elements. &nbsp;The inquiry, therefore, is whether error is apparent from the face of the record.

No reporter’s record was made of the November 2006 hearing. &nbsp;In Robinson’s first point of error, he correctly asserts that Section 105.003 of the Family Code requires a record of the proceeding be made unless waived by the parties with the consent of the court. &nbsp;Tex. Fam. Code Ann. § 105.003(c) (Vernon 2002). &nbsp;&nbsp;



In 
Stubbs v. Stubbs,
 685 S.W.2d 643, 645-46 (Tex. 1985), the court held that the predecessor provision to section 105.003 of the Family Code places an affirmative duty on the trial court to ensure that the court reporter makes a record of proceedings involving parent-child relationships and that failure to do so constitutes error on the face of the record requiring reversal. &nbsp;
Id.; Rogers v. Rogers,
 561 S.W.2d 172, 173 (Tex. 1978); 
In re Vega,
 10 S.W.3d 720, 722 (Tex.App.–Amarillo 1999, no pet.); 
Walker v. Stefanic,
 898 S.W.2d 347, 349 (Tex.App.–San Antonio 1995, no pet.). &nbsp;
Section 105.003(c) of the Family Code places the same duty on the trial court. &nbsp;
In re D.J.M.,
 114 S.W.3d 637, 639 (Tex.App.–Fort Worth 2003, pet. denied). 

The judgment at bar recites the parties waived a record of the proceedings. &nbsp;Robinson, however, was not present to do so. &nbsp;In similar circumstances, we held in 
In re Vega
, that where a party is neither present nor represented by counsel at the hearing, the making of the record cannot be waived as to the absent party and a trial court commits error in consenting to the waiver of a record. 
In re Vega,
 10 S.W.3d at 722
, citing O’Connell v. O’Connell,
 661 S.W.2d 261, 263 (Tex.App.–Houston [1
st
 Dist.] 1983, no writ) and 
G.S.K. v. T.K.N.,
 940 S.W.2d 797, 799 (Tex.App.–El Paso 1997, no writ). &nbsp;The holding applies here. &nbsp;The court’s error is reversible error because, without a reporter’s record, we cannot determine whether the evidence supporting the trial court’s judgment was factually or legally sufficient. &nbsp;&nbsp;Tex. R. App. P. 44.1(a)(2). 
 &nbsp;&nbsp;



Accordingly, we sustain Robinson’s first point of error, reverse the trial court’s judgment and remand the cause for a new trial.



James T. Campbell

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Justice













FOOTNOTES
1: 
Robinson’s brief asserts he never received notice of the hearing. &nbsp;We need not further address this assertion. &nbsp;


2: Niell has not filed an appellee’s brief.


3: Robinson’s remaining points of error contend the trial court erred in granting Niell more relief than requested in the pleadings, in granting relief on unliquidated claims without creating a record in support, and in granting a default judgment because there was no legally or factually sufficient evidence to support child support obligations, child support arrearages or Niell’s attorney’s fees.


4: Because Robinson’s first point is dispositive of his appeal, we do not reach his remaining points of error. &nbsp;Tex. R. App. P. 47.1.




